

White v Dracker (2024 NY Slip Op 05693)





White v Dracker


2024 NY Slip Op 05693


Decided on November 15, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 15, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., LINDLEY, OGDEN, DELCONTE, AND KEANE, JJ.


710 CA 23-01745

[*1]RHIANNON WHITE AND ANTHONY WHITE, SR., AS ADMINISTRATORS OF THE ESTATE OF ANTHONY WHITE, JR., DECEASED, AND RHIANNON WHITE AND ANTHONY WHITE, SR., INDIVIDUALLY, PLAINTIFFS-APPELLANTS,
vROBERT DRACKER, M.D., ET AL., DEFENDANTS, AND RAJIV MANGLA, M.D., DEFENDANT-RESPONDENT. (APPEAL NO. 1.) 






KRAMER DILLOF LIVINGSTON &amp; MOORE, NEW YORK CITY (JOHN D. CAGNEY OF COUNSEL), FOR PLAINTIFFS-APPELLANTS.
RICOTTA, MATTREY, CALLOCHIA, MARKEL &amp; CASSERT, BUFFALO (COLLEEN K. MATTREY OF COUNSEL), FOR DEFENDANT-RESPONDENT. 


	Appeal from an order of the Supreme Court, Onondaga County (Gerard J. Neri, J.), entered September 22, 2023. The order granted the motion of defendant Rajiv Mangla, M.D., for summary judgment. 
Now, upon reading and filing the stipulation of discontinuance signed by the attorneys for the parties on July 16, 2024,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: November 15, 2024
Ann Dillon Flynn
Clerk of the Court








